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                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

     IN RE: SHERNETTE ANN DACOSTA,                {   CHAPTER 13
                                                  {
                                                  {
              DEBTOR(S)                           {   CASE NO. A18-71621-SMS
                                                  {
                                                  {   JUDGE SIGLER


                                OBJECTION TO CONFIRMATION


          COMES NOW MARY IDA TOWNSON, TRUSTEE herein, and objects to
     Confirmation of the plan for the following reasons:

          1. The Debtor(s)' payments under the proposed plan are
     not current.

          2. The Plan as proposed will extend beyond sixty (60)
     months, contrary to 11 U.S.C. Section 1322(d). (72 months).

          3. The Debtor(s) has failed to provide the Trustee with a
     copy of the federal tax return or transcript of such return for
     the most recent tax year ending immediately before the
     commencement of the instant case and for which a federal income
     tax return was filed, in violation of 11 U.S.C. Section
     521(e)(2)(A)(i).

          4. The proposed plan provides for set monthly payments to
     Unifund CCR, LLC. However, said creditor(s) has filed an
     unsecured claim and these funds should be reallocated.

          WHEREFORE, the Trustee moves the Court to inquire into the
     above objections, deny Confirmation of this Debtor's (s') Plan
     and to dismiss the case; or, in the alternative, convert the
     case to one under Chapter 7.

            February 6, 2019




                                          __________/s/_____________
                                          Albert C. Guthrie, Attorney
                                          for Chapter 13 Trustee
                                          GA Bar No. 142399
     Mary Ida Townson, Chapter 13 Trustee
     Suite 2200 – 191 Peachtree Street, N.E.
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                                  CERTIFICATE OF SERVICE


          This is to certify that on this day I caused a copy of the
     foregoing pleading to be served via United States First Class
     Mail, with adequate postage thereon, on the following parties at
     the address shown for each:

     DEBTOR(S):

     SHERNETTE ANN DACOSTA
     220 KESTREL CIRCLE
     COVINGTON, GA 30014

     I further certify that I have on this day electronically filed
     the pleading using the Bankruptcy Court's Electronic Filing
     program, which sends a notice of this document and an
     accompanying link to this document to the following parties who
     have appeared in this case under the Bankruptcy Court's
     Electronic Case Filing program:

     SLIPAKOFF & SLOMKA, PC


     This 6th day of February 2019




                /s/              ___
     Albert C. Guthrie, Attorney
     for Chapter 13 Trustee
     GA Bar No. 142399




     Mary Ida Townson, Chapter 13 Trustee
     Suite 2200 – 191 Peachtree Street, N.E.
     Atlanta, GA 30303-1740
     (404) 525-1110
     albertg@atlch13tt.com
